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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

 AMERICAN ALLIANCE FOR EQUAL                  )
 RIGHTS, a nonprofit corporation,             )
                                              )
        Plaintiff,                            )
                                              )   Civil Action No.:
 v.                                           )   2:24-cv-00104-RAH-JTA
                                              )
 KAY IVEY, in her official capacity as        )
 Governor of the State of Alabama,            )
                                              )
        Defendant.                            )

                             NOTICE OF APPEARANCE
        Comes now, James W. Davis, a member of the Bar of this Court, and enters his

appearance as counsel for Kay Ivey, in her official capacity as the Governor of the State of

Alabama.

                                           Respectfully submitted,

                                           Steve Marshall
                                            Attorney General

                                           /s/ James W. Davis
                                           James W. Davis (ASB-4063-I58J)
                                             Deputy Attorney General

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                                           STATE OF ALABAMA
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                                           Counsel for Governor Kay Ivey
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                            CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2024, I electronically filed a copy of the foregoing

with the Clerk of the Court via CM/ECF which will send notification to all counsel of

record.


                                                 /s/ James W. Davis
                                                 Counsel for Governor Kay Ivey




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